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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

ZIV COHEN, Case No.: 2:21-cv-9020-GW-AFM
Plaintiff,
vs ORDER TO REMAND
ACTION TO STATE COURT

JAGUAR LAND ROVERNORTH =| 4. Gon 9/97/34
AMERICA, LLC, and DOES | through | Gyi5° Resp Pld: ‘11/15/21
100, inclusive, ~ .

Defendants.

 

 

Having considered the request to remand the action back to state court, and
finding that both parties have stipulated to do so, the Court hereby remands the action

back to state court.

Dated: December 6, 2021 A]. KK, hi

George H. Wu
United States District Judge

 

Proposed Order to Remand Action to State Court
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